Case 22-19361-MBK              Doc 1811       Filed 10/30/23 Entered 10/30/23 14:39:51                 Desc Main
                                            Document      Page 1 of 4


     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
     BROWN RUDNICK LLP                                     HAYNES AND BOONE, LLP
     Kenneth J. Aulet, Esq. (admitted pro hac vice)        Richard S. Kanowitz, Esq. (NJ Bar No. 047911992)
     Seven Times Square                                    Lauren M. Sisson, Esq. (NJ Bar No. 394182022)
     New York, New York 10036                              30 Rockefeller Plaza, 26th Floor
     (212) 209-4800                                        New York, New York 10112
     kaulet@brownrudnick.com                               (212) 659-7300
                                                           richard.kanowitz@haynesboone.com
     BROWN RUDNICK LLP
                                                           lauren.sisson@haynesboone.com
     Tristan Axelrod, Esq. (admitted pro hac vice)
     One Financial Center                                  Attorneys for the Plan Administrator
     Boston, MA 02111
     (617)856-8300
     taxelrod@brownrudnick.com
     General Counsel for the Plan Administrator
     GENOVA BURNS LLC
     Daniel M. Stolz, Esq.
     Donald W. Clarke, Esq.
     110 Allen Rd., Suite 304
     Basking Ridge, NJ 07920
     (973) 230-2095
     DStolz@genovaburns.com
     DClarke@genovaburns.com
     Local Counsel for the Plan Administrator
                                                          Chapter 11
 In re:
                                                          Case No. 22-19361 (MBK)
 BLOCKFI INC., et al.,
                                                          (Jointly Administered under a Confirmed Plan 2)
                              Wind-Down Debtors. 1
                                                          Hearing Date: November 6, 2023 @ 11:00 a.m. ET
                                                          Reply Deadline: November 2, 2023 @ 4:00 p.m. ET

                    WIND-DOWN DEBTORS’ OBJECTION TO MOTION OF
                    SECURED CREDITOR GEORGE WYNNS FOR RETURN
                 OF HIS 4.22 BITCOIN IN EXCHANGE FOR OWED UPON LOAN




 1
   The Wind-Down Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi
 Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products
 LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The location of the Wind-Down
 Debtors’ service address is 100 Horizon Center Blvd., 1st and 2nd Floors, Hamilton, NJ 08691
 2
  On October 3, 2023, the Court entered an order [Docket No. 1660] (the “Confirmation Order”) confirming the Third
 Amended Joint Chapter 11 Plan of BlockFi Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
 Code (Additional Technical Modifications) [Docket No. 1609] (as amended and supplemented, the “Plan”). Unless
 otherwise indicated, capitalized terms used but not defined herein shall have the meanings ascribed to them in the
 Plan.
Case 22-19361-MBK         Doc 1811     Filed 10/30/23 Entered 10/30/23 14:39:51         Desc Main
                                     Document      Page 2 of 4



 TO: THE HONORABLE CHIEF JUDGE MICHAEL B. KAPLAN UNITED STATES
 BANKRUPTCY COURT FOR THE DISTRICT OF NEW JERSEY

        The above-captioned debtors and debtors in possession (collectively, the “Wind-Down

 Debtors”), as managed by the Plan Administrator, by and through their undersigned counsel, in

 the above-referenced chapter 11 cases (the “Chapter 11 Cases”), hereby file this Wind-Down

 Debtors’ Objection (the “Objection”) to Motion of Secured Creditor George Wynns for Return of

 his 4.22 Bitcoin in Exchange for Owed Upon Loan [Docket No. 1741] (the “Motion”). In support

 of the Objection, the Wind-Down Debtors respectfully represent as follows:

                                           Background

        1.      On September 1, 2023, the Wind-Down Debtors filed the Debtors’ Tenth Omnibus

 Objection to Certain Claims [Docket No. 1437] (the “Tenth Omnibus Objection”), which sets forth

 the bases of the Wind-Down Debtors’ objection to the proofs of claim filed by creditor George

 Wynns (“Wynns”).

        2.      At a hearing on September 26, 2023, the Court confirmed the Plan and approved

 the Disclosure Statement on a final basis. The Clerk of the Court docketed the Confirmation Order

 on October 3, 2023, and the Plan went effective on October 24, 2023 [Docket No. 1788] (“Notice

 of Effective Date”).

        3.      On October 2, 2023, Wynns filed his Objection and Response of Secured Creditor

 George Wynns in Support of Creditor’s Objection to Debtor’s Tenth Omnibus Objection to Certain

 Claims [Docket No. 1633] (the “Wynns Response”), which sets forth Wynns’ arguments in

 opposition to certain of the proposed modifications and expungements of the 6 proofs of claim he

 filed against various debtor entities.




                                                2
Case 22-19361-MBK          Doc 1811     Filed 10/30/23 Entered 10/30/23 14:39:51        Desc Main
                                      Document      Page 3 of 4



        4.      On October 3, 2023, Mr. Wynns filed his Affidavit of Secured Creditor George

 Wynns in Support of Creditor’s Objection to Debtor’s Tenth Omnibus Objection to Certain Claims

 [Docket No. 1652] (the “Wynns Certification”).

        5.      On October 16, 2023, Mr. Wynns filed the Motion, which reiterates, relies upon,

 and incorporates by reference the arguments set forth in the Wynns Response. See Motion at 2.

                                             Objection

        6.      The amount, validity, and classification of Wynns’ claims against the Wind-Down

 Debtors’ bankruptcy estates (the “Wynns Claims”), if any, will be determined at the hearing on

 the Tenth Omnibus Objection, which the Court will hear on November 6, 2023. The confirmed

 Plan governs the treatment of all claims against the Wind-Down Debtors’ bankruptcy estates,

 including the Wynns Claims. See 11 U.S.C. § 1123(a)(4) (requiring equality of treatment of each

 claim within a particular class).

        7.      The Motion does not add any material facts or substantive arguments to those facts

 and arguments already set forth in the Wynns Response and Certification. As such, and to avoid

 duplicative argument, the Wind-Down Debtors intend to file a reply to the Wynns Response, which

 will fully address the substance of Mr. Wynns’ arguments in the Wynns Response, Certification,

 and the instant Motion.

        8.      Based on the foregoing, the Wind-Down Debtors object to the relief sought in the

 Motion to the extent it is duplicative of any relief previously sought by Mr. Wynns and/or

 contradicts the treatment of his claims under the terms of the Plan or otherwise contradicts any

 provision of the Confirmation Order.




                                                  3
Case 22-19361-MBK          Doc 1811     Filed 10/30/23 Entered 10/30/23 14:39:51            Desc Main
                                      Document      Page 4 of 4



        WHEREFORE, the Wind-Down Debtors respectfully request entry of an order denying

 the Motion and granting the Wind-Down Debtors such other and further relief as the Court may

 deem just and appropriate.



                                                     Respectfully Submitted,

 Dated: October 30, 2023                             /s/ Daniel M. Stolz

                                                     GENOVA BURNS LLC
                                                     Daniel M. Stolz, Esq.
                                                     Donald W. Clarke, Esq.
                                                     110 Allen Rd., Suite 304
                                                     Basking Ridge, NJ 07920
                                                     (973) 230-2095
                                                     DStolz@genovaburns.com
                                                     DClarke@genovaburns.com

                                                     Local Counsel to the Plan Administrator

                                                     HAYNES AND BOONE, LLP
                                                     Richard S. Kanowitz, Esq. (NJ Bar No.
                                                     047911992)
                                                     Lauren M. Sisson, Esq. (NJ Bar No. 394182022)
                                                     30 Rockefeller Plaza, 26th Floor
                                                     New York, New York 10112
                                                     (212) 659-7300
                                                     richard.kanowitz@haynesboone.com
                                                     lauren.sisson@haynesboone.com

                                                     Attorneys for the Plan Administrator

                                                     BROWN RUDNICK LLP
                                                     Kenneth J. Aulet, Esq. (admitted pro hac vice)
                                                     Seven Times Square
                                                     New York, New York 10036
                                                     (212) 209-4800
                                                     kaulet@brownrudnick.com

                                                     BROWN RUDNICK LLP
                                                     Tristan Axelrod, Esq. (admitted pro hac vice)
                                                     One Financial Center
                                                     Boston, MA 02111
                                                     (617)856-8300
                                                     taxelrod@brownrudnick.com

                                                     General Counsel to the Plan Administrator



                                                 4
